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                  IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION




Stacy Ernst, Michelle Lahalih, Dawn Hoard                     ]    FILED: AUG 01, 2008
Irene Res Puallano and Katherine Kean                         ]    08CV4370
Plaintiffs                                                     ]   JUDGE NORGLE
                                                               ]   MAGISTRATE JUDGE COLE
Vs                                                             ]   RCC
                                                               ]
City of Chicago,                                               ]
 A municipal corporation                                       ]
               Defendant                                       ]


                                        COMPLAINT

Plaintiffs Stacy Ernst, Michelle Lahalih, Dawn Hoard, Irene Res Pullano and Katherine

Kean by and through their attorney, Susan P. Malone, complaining of defendant CITY

OF CHICAGO, state as follows:



                                   Jurisdiction and Parties



     1. Plaintiff Stacy Ernest, Michelle Lahalih, Dawn Hoard, Irene Res Pullano and

        Katherine Kean previously known as Katherine Kenar (hereinafter Plaintiffs) are

        and were at all times relevant herein residents of the City of Chicago, County of

        Cook State of Illinois.

     2. Plaintiffs are and were at all times relevant herein licensed by the Illinois

        Department of Public Health as EMT-P or Paramedics. Plaintiffs and each of

        them applied for the position of paramedic with the City of Chicago, Department

        of Fire and were placed on a list of persons eligible for hire as paramedics.



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3. The City of Chicago (hereinafter the City) is and was at all times relevant herein a

     municipal corporation organized and existing under the law of Illinois. The City is

     and was at all times relevant herein an employer as defined by Title VII of the

     Civil Rights Act of 1964, 42 U.S.C. Section 2000e et seq. (Title VII)

4. This action is brought pursuant to and arises under Title VII of the Civil Rights

     Act of 1964, 42 U.S.C. Section 2000e et. seq.. This Court has jurisdiction under

     28 U.S.C. Section 1343(4) and Section 42 USC Section 2000-5(f).

5. Prior to the initiation of this action, plaintiffs filed timely charges of

     discrimination with the Illinois Department of Human Rights and the Equal

     employment Opportunity Commission charging the defendants with

     discrimination against them on the basis of sex.

6. Plaintiffs received notification of right to sue from the EEOC within 90 days prior

     to the filing of this action.

7.   Plaintiffs and each of them are and were at all times relevant herein, licensed

     paramedics with the Illinois Department of Public Health.

8. Plaintiff and each of them applied to the City of Chicago for hire as paramedics

     with the City of Chicago Department of Fire.

9. Plaintiffs and each of them were deemed to have meet the initial requirements for

     hire and were placed on list of persons eligible for hire as paramedics subject to

     further processing.

10. Plaintiffs and each of them were subsequently directed by the defendant to

     complete a test defendant characterized as a physical abilities test. The stated

     purpose of such test was to determine the plaintiffs’ physical ability to perform




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   the duties and responsibilities of a paramedic with the city of Chicago Department

   of Fire.

11. Plaintiffs and each of them had, prior to such testing date, performed the duties

   and responsibilities of persons employment as paramedics for several years while

   employed by other employers.

12. Plaintiffs and each of them were subsequently informed that the defendant

   contended plaintiffs and each of them had “failed” the physical abilities testing

   and therefore would be removed from the list of persons eligible for hire as

   paramedics.

13. The City discriminated against Complaint on the basis of sex by utilizing the

   claimed test results as a reason to reject Plaintiffs for the position of paramedic

   and to remove from the list of persons eligible for hire in that:

       a) Plaintiffs and each of them were and are fully capable of performing the

              duties of a paramedic and had performed such duties for a number of

              years;

       b) The testing process and procedure utilized by the respondent disqualified a

              disproportionate number of female applicants, all of whom were fully

              licensed paramedics;

       c) The testing process and procedure was conducted in an insecure and

              unprofessional manner so as to facilitate the elimination of female

              candidates in that

       i) The score or alleged score of the applicants were recorded in pencil

              permitting alterations to such scores;




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               ii)     The score or alleged scores were calculated and recorded by

                       persons who were hired for the day by the city or its agents and

                       who were not fully trained in either proper testing procedures

                       or the duties and responsibilities of paramedics;

               iii)    The testing process and procedure did not provide a accurate

                       measure of a female person’s ability to perform the duties and

                       responsibilities of a paramedic for the Chicago Fire

                       Department;

               iv)     The test utilized was not properly validated for content or

                       adverse impact prior to its administration;

               v)      A disproportionate number of female applicants working as

                       paramedics for other employees were disqualified by the test

                       utilized by the City

14. As a direct and proximate result of the actions of the defendant, Plaintiffs were

   not hired as paramedics and have sustained and continue to sustain lost wages and

   other benefits of employment.

15. As a direct and proximate result of the actions of the City, Plaintiffs have sustain

   and continue to sustain emotional distress, humiliation and embarrassment;

Wherefore Plaintiffs requests this Honorable Court to order the following relief

1. That this Court award Plaintiffs compensatory damages against defendant in such

   amount as may be found by the jury to be sufficient to compensate plaintiffs;




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2. That this Court order defendant City to hire plaintiffs as paramedics with

   retroactive seniority and benefits to the date on which plaintiffs would have been

   hired but for the defendants actions.

3. That this court award plaintiffs attorneys fees and costs

4. That this court order defendant to cease utilizing discriminating against women in

   physical ability tests for positions within the Fire Department.

5. That this court award plaintiffs and each of them liquidated damages in an amount

   found to be sufficient by the jury for its intentional violation of Title VII

6. For such other and further relief as to this Court shall seem just



PLAINTIFFS REQUEST TRIAL BY JURY

ON ALL ISSUES SO TRIABLE

                           Respectfully submitted



                           __s/malonelaw@sbcglobal.net

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